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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                      Case No.: 18cv0428 DMS (MDD)
12                            Petitioners-Plaintiffs,
                                                            ORDER (1) GRANTING
13     v.                                                   PLAINTIFFS’ MOTION FOR
                                                            EMERGENCY TRO PENDING
14     U.S Immigration and Customs
                                                            RULING ON MOTION TO STAY
       Enforcement (“ICE”); et al.,
15                                                          AND (2) AMENDING JULY 13, 2018
                         Respondents-Defendants.            ORDER FOLLOWING STATUS
16
                                                            CONFERENCE
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18           A further status conference was held on July 16, 2018. Lee Gelernt appeared and
19     argued for Plaintiffs and Scott Stewart, Brian Stimson and Sarah Fabian appeared and
20     argued for Defendants. Also present was Commander Jonathan White representing the
21     U.S. Department of Health and Human Services. After hearing from counsel and receiving
22     evidence from Commander White, IT IS HEREBY ORDERED:
23     1.    Plaintiffs’ motion for an emergency TRO pending a ruling on their motion to stay is
24     granted. If Defendants dispute the Court’s jurisdiction to enter this order, they shall submit
25     a brief to that effect forthwith. On the underlying motion to stay, Defendants shall file their
26     opposition brief on or before July 23, 2018, at 9:00 a.m., Pacific Time.
27     2.    The Court’s order requiring Defendants to provide Plaintiffs with 12-hour advance
28     notice of every individual reunification is vacated. Counsel shall meet and confer on this

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 1     issue of advance notice, and if necessary, submit a joint motion and proposed order for the
 2     Court’s review and approval. After hearing from Commander White, the Court is inclined
 3     to agree with Defendants that providing Plaintiffs with notice of reunifications pursuant to
 4     the “initial cleared list” is sufficient. To the extent Defendants can also provide Plaintiffs
 5     with notice of reunifications that have received the “green light,” they should do so, but
 6     based on Commander White’s testimony, the Court is disinclined to order Defendants to
 7     provide Plaintiffs with the requested 12-hour notice for each reunification for the reasons
 8     set out by Commander White at the hearing.
 9     3.    The dial in number for counsel and any members of the news media that wish to
10     attend the July 20, 2018 status conference is as follows.
11           1.     Dial the toll free number: 877-411-9748;
12           2.     Enter the Access Code: 6246317 (Participants will be put on hold until the
13                  Court activates the conference call);
14           3.     Enter the Participant Security Code 07200428 and Press # (The security code
15                  will be confirmed);
16           4.     Once the Security Code is confirmed, participants will be prompted to Press
17                  1 to join the conference or Press 2 to re-enter the Security Code.
18           This number is for counsel and media only. Members of the general public may
19     attend in person.
20      Dated: July 16, 2018
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